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                                                                United States of America
                                               In the District Court for the Eastern District of Michigan
                                                                  Southern Division

                            AFT Michigan,                                             Hon. Linda V. Parker, District Judge
                                 Plaintiff,                                                    Hon. Elizabeth A. Stafford

                            V                                                                       Case No.: l 7-cv-13292

                            Project Veritas, a foreign corporation,
                            and Marisa L. Jorge, a/k/a Marissa Jorge,
                            a/k/a Marissa Perez,
                                    Defendants.

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                                                  DECLARATION OF BRADFORD MURRAY
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                                            Declaration of Bradford Murray

   1.     My name is Bradford Murray. I am employed by the American Federation of Teachers as
          a Manager. I have been so employed since 2010.

   2.     I have extensive experience conducting background and public records investigations.
          Over the past decade, I've examined the public records of thousands of people and
          companies.

   3.     On behalf of AFT Michigan I have sought to locate Richard Seddon for the purpose of
          serving him with a subpoena to testify in this litigation.

   4.     Seddon is a critical witness to the decision by Defendant Project Veritas to infiltrate AFT
          Michigan.

   5.     Mr. Seddon was engaged to work with Project Veritas during 2016 and 2017 and was
          assigned to supervise the 'journalists" employed by Project Veritas. He has been identified
          as the person who supervised Defendant Marissa Jorge while the infiltration of AFT
          Michigan was being planned.

   6.     I have made efforts to locate Mr. Seddon beginning with the onset of this litigation
          without success. Subpoenas were issued in March, 2020 and again in June, 2020 and
          delivered to process servers in Montana where Mr. Seddon was believed to be residing.
          AFT Michigan also attempted to serve Mr. Seddon at a residence in Virginia formerly
          used by his wife.

   7.     However, Based on my search efforts and prior experience, I believe that Mr. Seddon has
          taken extreme measures to hide his identity and location and keep his public records
          "footprint" secret.

   8.     For example, Mr. Seddon's uses a mail forwarding services to prevent the association of
          his identity with his mailing address. Mr. Seddon also owns his car in the name of an
          anonymous LLC and owns his home in the name of a property trust. He appears to use
          phones not associated with his actual name and uses encrypted communication services.

   9.     Identifying Mr. Seddon's primary residence was extraordinarily difficult. The house is not
          connected to Mr. Seddon in any public records that I could uncover. His house-a new
          construction which is not yet complete-is owned through an anonymous property trust.
          The only record linking Mr. Seddon to this property is an assessor record linking the
          property to a PO Box owned by an associate of Mr. Seddon. Development on this
          property did not begin until May 2020.

   10.    Mr. Seddon' s address was recently located after a three year effort to locate him. Mr.
          Seddon was finally served with a subpoena on June 26, 2021.

   11.    The declaration of the process server is attached.

         I declare under penalty of perjury under the laws of the United States of America that the foregoing is true
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Signed:




Bradford Murray


Dated: 7/19/2021
